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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                       Plaintiff,

   v.                                                 Case No. 1:21-cv-01633-RBW

 AON plc and
 WILLIS TOWERS WATSON plc,

                       Defendants.



                         JOINT STATUS REPORT REGARDING A
                     SCHEDULING AND CASE MANAGEMENT ORDER

          Pursuant to the Court’s order dated July 9, 2021 (Dkt. No. 46), Plaintiff, United States of

America, and Defendants, Aon plc and Willis Towers Watson plc, respectfully submit to the

Court that the hearing currently scheduled for July 15, 2021 is necessary to resolve the Parties’

remaining disputes regarding a proposed scheduling and case management order. Plaintiff’s and

Defendants’ proposed Scheduling and Case Management Orders are attached as Exhibit 1 and

Exhibit 2, respectively, to this filing, and the remaining areas of dispute are further detailed

herein.

          In accordance with Rule 26(f) of the Federal Rules of Civil Procedure, Rule 16.3 of the

Local Civil Rules, and the Court’s Order, dated July 9, 2021 (Dkt. No. 46), Plaintiff and

Defendants met and conferred on July 12 and 13, 2021 regarding the scheduling matters set forth

in Local Rule 16.3. The following four areas of disagreement remain: the timing for production

of investigation materials; the Defendants’ special interrogatories; the deadline for Defendants to

propose additional settlement offers for adjudication at trial and agree on whether a consent
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decree will be filed on Counts III-V; and the availability of witnesses despite nationwide service

of process.

                                      TOPICS OF DISPUTE

I.     TIMING FOR PRODUCTION OF INVESTIGATION MATERIALS

       Plaintiff’s Proposed Language:

        Schedule (emphasis added): Parties produce Investigation Materials either (1) within five
business days after the expiration of the time for a non-party to seek additional protection from
the Court, as outlined in the Stipulated Protective Order entered in this action, if such non-party
does not seek such additional protection, or (2) within five business days of resolution by the
Court of any non-party’s request for additional protection from the Court, as outlined in the
Stipulated Protective Order entered in this action.

       Defendants’ Proposed Language:

        Schedule (emphasis added): Within three businesss days of entry of this Case
Management Order, except that if any non-party seeks additional protection from the Court that
would prohibit outside counsel from viewing Investigation Materials as outlined in the Protective
Order, that non-party’s Investigation Materials will not be produced until resolution by the Court
of that non-party’s request.

       Plaintiff’s Rationale: Plaintiff has been attempting from the beginning of this case to

follow the usual practice to deliver investigation materials (non-party documents and data) to

Defendants: first entry of a protective order, then notice to third parties, then delivery of the

materials. This process is designed to protect the confidentiality of non-party submissions.

Defendants have been trying to skip the step of notice to third parties (their customers and

competitors), and in so doing have dragged this out. Plaintiff’s current proposal again offers an

expeditious path to Defendants’ receipt of these files, occuring less than two weeks after

discovery opens and without waiting for service of any discovery request.

       Defendants’ requested timeline for production of Plaintiff’s Investigation Materials is

infeasible. The notice provision of the Stipulated Protective Order entered by the Court (see Dkt.

No. 47 ¶ B.2) mandates that each Party will provide notice of the Stipulated Protective Order


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within five business days of the Court’s entry of that Order. The United States expedited this

process, providing such notice to all non-parties on July 12, 2021—less than one business day

after the Court’s entry of the Stipulated Protective Order. But each non-party is then entitled to

seven days in which it has the option to seek additional protection from the Court for its

confidential information. (See Dkt. No. 47 ¶ B.5.) Since Plaintiff completed the notice process

on July 12, 2021, non-parties have until July 19, 2021 to seek additional protection from the

Court. Following July 19, Plaintiff requires time to segregate out the materials of any non-party

that seeks additional protection as late as Monday, July 19, process the production, and get it

placed on media that can be delivered to Defendants. Defendants’ proposal would give Plaintiff

only a single day to complete these steps. Plaintiff will produce the Investigation Materials as

quickly as possible, but this almost certainly will require more than one day. Plaintiff requests

five business days to ensure compliance with this Court’s order.

       Defendants’ Rationale: The Division has been investigating the proposed merger of Aon

and Willis Towers Watson for over 15 months. During its investigation, the Division has used its

civil investigative demand authority to collect documents, conduct depositions, and potentially

obtain declarations from third parties.     Together, these materials comprise the Division’s

Investigation Materials. Defendants urgently need prompt access to the Division’s Investigation

Materials, without which they are hamstrung in their ability to prepare a defense.

       The Division has been stalling the production of these materials. First—three weeks ago—

the Division said it could not provide access before the Court entered a protective order.

Defendants agreed to entry of the Division’s proposed order, and the Court entered that order on

July 9, 2021. Yet the Division continues to withhold its Investigative File, now on the grounds

that third parties have not had sufficient notice and an opportunity to object, and because the



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Division needs several days to process the Investigative File for production. That could all have

been done weeks ago and, in any event, no later than once Defendants agreed on July 7, 2021, to

use the Divisions’ preferred protective order. The Division has had more than a month to provide

notice, address any third party concerns and process the materials for production. They should not

need another several weeks. The Division is just hiding behind concerns about the rights of non-

parties that are more than adequately addressed in the protective order the Court has entered. The

Division should be required to take all steps necessary to produce its file to Defendants

immediately.

       The Division has also rejected a proposal Defendants advanced during our meet and

confer on July 12, 2021, that the Division immediately provide certain information from the

Investigation Materials that would not implicate third-party confidentiality concerns, such as the

names of the witnesses the Division has deposed and the companies from which the Division has

obtained documents. Defendants need the Court to put an end to these stalling tactics and order

the Division to turn over all Investigative Materials immediately.

II.    DEFENDANTS’ SPECIAL INTERROGATORIES

       Plaintiff’s Proposed Language:

       Paragraph 13(c) (emphasis added): Defendants’ Special Interrogatories to Plaintiff
United States of America (“Special Interrogatories”) (ECF No. 37-4) are considered served the
day fact discovery begins, and Plaintiff’s answers and any objections shall be served no later
than July 29, 2021. Defendants’ Special Interrogatories shall count toward the number of
permissible interrogatories set forth in this paragraph.

       Defendants’ Proposed Language:

       Paragraph 13(c) (emphasis added): Defendants’ Special Interrogatories to Plaintiff
United States of America (“Special Interrogatories”) (ECF No. 37-4) are considered served the
day fact discovery begins, and Plaintiff’s substantive responses shall be served no later than
July 23, 2021.

       Plaintiff’s Rationale: Departing from the Federal Rules of Civil Procedure, Defendants


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seek to impose a requirement on Plaintiff to provide a “substantive” response, and to do so on a

significantly expedited schedule. Plaintiff proposes to submit its answers and any objections to

these interrogatories by July 29, or two weeks after they are served—less than half the time

allotted by the Federal Rules. As Plaintiff explained in its Opposition to Defendants’ Motion to

Compel Response to Special Interrogatories (see Dkt. No. 41), however, many of these proposed

interrogatories are substantively objectionable, seeking premature expert discovery, work

product, and other information that will require discovery. Plaintiff’s proposal tracks the

language of Federal Rule of Civil Procedure 33(b)(2), and requires that it serve “its answers and

any objections” by the deadline for responding. Adopting the language from the Federal Rules

rather than placing an ambiguous, undefined burden on Plaintiff in responding will provide

Defendants the information to which they are permitted and help prevent this dispute from

landing back before the Court prematurely.

       Defendants’ Rationale: The Court denied without prejudice Defendants’ previous request

to order the Division to answer Special Interrogatories, hoping the parties could work through this

issue. Those efforts failed. The only commitment the Division will make is to serve “answers and

any objections” by July 26, 2021, and the Division will not commit to provide “substantive

responses” rather than “objections” at that time.

       There is no good reason to delay substantive responses to the basic questions Defendants

are asking. After more than 15 months of investigating the transaction, the Division certainly must

know the answers to these basic questions. Defendants answered most of them months ago at the

Division’s insistence, as part of the Division’s investigation. In the Oracle case, the district court

gave the Division just five days to answer a similar set of interrogatories—and it did, on time, with

no apparent difficulty. All of these questions go to basic elements of the allegations in the


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complaint, such as who is in the market and who is not, what are the market shares, what are the

product attributes that define the market and present barriers to other firms serving large customers,

and so forth. The one thing that the Division brought up at the July 6 hearing—“diversion ratios”—

is something their economists have told the parties they have already calculated.

       Requiring the Division to substantively answer Defendants’ Special Interrogatories by no

later than July 26, 2021, is crucial to Defendants’ ability to (1) understand the Division’s claims;

(2) craft targeted and efficient discovery requests on both the Division and third parties; and (3)

prepare a defense. Any objections the Division has should therefore be resolved now. The

alternative is virtually certain to be a motion to compel, requiring the Court to resolve the

objections anyway, but after a lengthy delay. There is no time for gamesmanship like the

Division’s objections to these interrogatories.

III.   DEADLINE FOR DEFENDANTS TO PROPOSE ADDITIONAL SETTLEMENT
       OFFERS FOR ADJUDICATION AT TRIAL AND AGREE ON WHETHER A
       CONSENT DECREE WILL BE FILED ON COUNTS III-V

       Plaintiff’s Proposed Language:

       Schedule (emphasis added): Deadline for Defendants to provide Plaintiff evidence
concerning any proposed remedy, as described in paragraph 24 of this Order: August 2, 2021.

       Schedule (emphasis added): Deadline for Parties to agree on whether a consent decree
for Complaint Counts Three, Four, and/or Five will be filed, unless the Parties mutually agree to
extend this date: August 2, 2021.

         Paragraph 24 (emphasis added): Timely Production of Evidence Concerning Remedy.
Evidence related to a Defendant’s attempt to address the United States’ concerns about the
Planned Transaction, whether by agreeing to divest or license assets or by making any other
agreement, offer, or commitment, will be excluded under Federal Rule of Evidence 403 as
unfairly prejudicial to the United States, unless Defendants provide a copy of the agreement,
offer, term sheet, or commitment to the United States by August 2, 2021.

       Defendants’ Proposed Language:

       Schedule (emphasis added): Deadline for (1) Defendants to provide to Plaintiff evidence
concerning any proposed remedy, as described in paragraph 24 of this Order and (2) Parties to
agree on whether a consent decree will be filed: September 1, 2021.
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         Paragraph 24 (emphasis added): Timely Production of Evidence Concerning Remedy.
Evidence related to a Defendant’s attempt to address the United States’ concerns about the
Planned Transaction, whether by agreeing to divest or license assets or by making any other
agreement, offer, or commitment, will be excluded under Federal Rule of Evidence 403 as
unfairly prejudicial to the United States, unless Defendants provide a copy of the agreement,
offer, term sheet, or commitment to the United States by September 1, 2021.

       Plaintiff’s Rationale: The September 1 deadline proposed by Defendants would severely

prejudice Plaintiff’s ability to present to the Court a full case on the merits. For any remedy

proposal offered by Defendants, Plaintiff must be allowed time to conduct the necessary

discovery on that proposal. This includes document and data requests served on the divestiture

buyer; an opportunity to seek deposition testimony from party witnesses and non-party witnesses

about the capabilities of the proposed divestiture buyer and the adequacy of the proposed

divestiture package; and the opportunity for Plaintiff’s expert witness(es) to build this analysis

into any expert opinions and reports for the Court. By delaying until more than half way through

fact discovery the date on which they must provide any such proposal, including after the

proposed date for the Parties to serve preliminary witness lists, Defendants would require

Plaintiff to serve multiple discovery requests on non-parties, potentially delay the start of

depositions, and further shrink the time for Plaintiff’s expert(s) to incorporate the divestiture

proposal into any expert report(s).

       Plaintiff’s proposed deadline of August 2 is reasonable and will allow for full discovery

into any potential divestitures. Additionally, Plaintiff proposes the same date to serve as the

deadline by which the Parties must agree to whether a consent decree will be filed to settle

Counts Three, Four, or Five of the Complaint. These two deadlines both directly relate to the

same threshold issue: the scope of pretrial discovery, and whether it will encompass evidence on

all five counts alleged in the Complaint or whether Defendants will agree to enter into a consent



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decree for certain of those markets. Since January 2021, Defendants have been aware of

Plaintiff’s concerns regarding the merger’s anticompetitive effects in each of the five alleged

markets. For months leading up to the filing of the Complaint, Defendants made divestiture

proposals of various types to Plaintiff. It has now been almost one month since Plaintiff filed its

Complaint, and Defendants have had the opportunity to see the precise allegations against them

and craft divestitures to address the alleged harm should they desire to do so. Accordingly,

Defendants can easily propose any divestiture that they intend to offer on a timeline that will

allow for discovery to occur efficiently in the ordinary course.

         Defendants’ Rationale: Defendants have entered into binding contractual agreements

committing to divest the entirety of one party’s business in each of the three markets alleged in

Counts Three, Four, and Five of the Complaint. The Division acknowledges in paragraph 74 of

the Complaint that these agreements resolve the alleged competitive concerns in these segments,

but insist on a consent decree. That is not necessary given the “clean sweep” nature of the

divestitures in these markets, which Defendants are contractually obligated to complete. In

substance, there is no merger with respect to these three markets, leaving nothing to litigate or

settle with the Division.

         Defendants have nevertheless advised the Division that they are willing to work

expeditiously towards a formal settlement agreement with respect to these counts, and potentially

with respect to the other counts, to maximize judicial efficiency in this matter. But 18 days is

simply not enough time, particularly given that Defendants are still waiting for the Division to

provide a draft settlement agreement with respect to Counts Three through Five. There is no good

reason to prioritize this effort over all the many other things the parties need to do to get ready for

trial.



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       Importantly, the Division had extensive information about the divestitures related to

Counts Three through Five, including copies of the binding contractual agreements and

information from the buyers, weeks and even months before the Complaint was filed. It could

have attempted to reach a resolution well before now. The fact that the Division chose to include

these counts in the Complaint – making them subject to the terms of the CMO – should not

preclude Defendants from taking the time required to work through the process. Instead, it opted

to include these already-resolved matters in the Complaint, and now wants the parties to focus on

them instead of the two markets that remain in dispute. That makes no sense.

IV.    AVAILABILITY OF WITNESSES DESPITE NATIONWIDE SERVICE OF TRIAL
       SUBPOENAS

       Plaintiff’s Proposed Language:

         Paragraph 25 (emphasis added): To assist the Parties in planning discovery, and in view
of the geographic dispersion of potential witnesses in this action outside this District, the Parties
are permitted, under 15 U.S.C. § 23, to issue trial subpoenas that may run into any other federal
district requiring witnesses to attend this Court. The availability of nationwide service of
process, however, does not make a witness who is “unavailable” for purposes of Federal Rule
of Civil Procedure 32 and Federal Rule of Evidence 804 available under those rules or
otherwise affect the admissibility at trial of a deposition of a witness.

       Defendants’ Proposed Language:

        Paragraph 25: To assist the Parties in planning discovery, and in view of the geographic
dispersion of potential witnesses in this action outside this District, the Parties are permitted,
under 15 U.S.C. § 23, to issue trial subpoenas that may run into any other federal district
requiring witnesses to attend this Court.

       Plaintiff’s Rationale: Plaintiff’s proposed language retains flexibility for the Parties to

introduce testimony from non-party witnesses through deposition, rather than requiring that they

appear live at trial. Eliminating this language would potentially limit the number of third party

witnesses able to present testimony to this Court given the compressed trial schedule and the

timing of the currently scheduled dates for trial, both of which are near holidays. Aon’s counsel

recognized that this case was a candidate for expanding, rather than contracting, the ability to
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present witness testimony by deposition. (Dkt. No. 44 at 5:13-23.) Plaintiff’s proposed language

seeks to preserve that flexibility to ensure the most efficient presentation of evidence in this case.

       Defendants’ Rationale: The Division wants both the sword of being able to subpoena

potential witnesses outside this district, bringing such witnesses to trial over objection, and the

shield of being able to claim that those same witnesses are “unavailable” under the Federal Rules

should the Division prefer their deposition testimony over a live appearance. This proposal

would allow the Division to use its nationwide subpoena powers selectively and tactically, and

tellingly, over the course of several meet and confer discussions on the provision, the Division

never articulated why they need their proposed language on “unavailability” of witnesses. The

provision is unfair to Defendants and unnecessary to the Division’s ability to prosecute its case.

                                          CONCLUSION

       Plaintiff and Defendants respectfully submit to the Court that the hearing currently

scheduled for July 15, 2021 is necessary to resolve the foregoing disagreements pertaining to a

proposed scheduling and case management order.




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Dated: July 13, 2021                  Respectfully submitted,


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                               CERTIFICATE OF SERVICE


      I certify that on July 13, 2021, I served the foregoing upon all counsel of record via the

Court’s CM/ECF system.




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